                                               By United States Marshals Service at 11:38 am, Nov 16, 2023
   AO 442 (Rev. 11/11) Arrest Warrant


                                               UNITED STATES DISTRICT COURT
                                                                         for the                  USMS: 85375-510
                                                                 District of Alaska               FID: 11609961
                                                                                                  Warrant: 2406-1031-0056-J
Warrant                                                                                           NCIC: IN FEDERAL CUSTODY
                      UNITED STATES OF AMERICA                              )
                                                                            )          Case Number: 3:23-CR-00107-JMK-MMS
                                         vs.                                )
                                                                            )
                       ARTHER CHARLES GRAHAM                                )
                               Defendant


                                                             ARREST WARRANT
     To: Any authorized law enforcement officer
     YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
     (name of person to be arrested) ARTHER CHARLES GRAHAM                                                                           ,
     who is accused of an offense or violation based on the following document filed with the court:
      ☒ Indictment           ☐ Superseding Indictment                 ☐ Information         ☐ Superseding Information       ☐Complaint
      ☐ Probation Petition              ☐ Supervised Release Petition              ☐ Pretrial Petition        ☐ Order of the Court
          This offense is briefly described as follows:
          18:875(c) INTERSTATE COMMUNICATIONS WITH A THREAT TO KIDNAP OR INJURE – count 1



          Date: November 16, 2023                                        By s/Brenda Kappler                       , Deputy Clerk
                                                                                       Issuing officer’s signature
          City and state: Anchorage, Alaska                                               Brian D. Karth, Clerk of Court
                                                                                              Printed name and title
                                                                         Return

          This warrant was received on (date) 11/16/2023                    , and the person was arrested on (date) 10/30/2023

          at (city and state) Anchorage, AK                                        .

          Date: 11/16/2023                                                                                for SA Hunter
                                                                                            Arresting officer’s signature

              SUBJECT ALREADY IN FEDERAL CUSTODY
              3:23-MJ-636                                                                SA Hunter. US Capitol Police
                                                                                            Printed name and title




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